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                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION
In re:                                                §                Case No. 19-34054
                                                      §
HIGHLAND CAPITAL MANAGEMENT, L.P.                     §                Chapter 11
                                                      §
         Debtor.                                      §

HIGHLAND CAPITAL MANAGEMENT, L.P.,                    §
                                                      §
         Plaintiff.                                   §
                                                      §
v.                                                    §
                                                      §                Adversary No.: 21-03006-sgj
HIGHLAND CAPITAL MANAGEMENT                           §
SERVICES, INC., JAMES DONDERO, NANCY                  §
DONDERO, AND THE DUGABOY                              §
INVESTMENT TRUST,                                     §
                                                      §
         Defendants.                                  §

          DESIGNATION OF RECORD PURSUANT TO FED. R. BANKR. P. 8009

       Pursuant to Fed. R. Bankr. P. 8009, James Dondero, Nancy Dondero and The Dugaboy
Investment Trust (“Appellants”) by and through undersigned counsel, hereby submit this
designation of the record on appeal of the Memorandum Opinion and Order Denying Arbitration
Request and Related Relief [Dkt. No. 115]:


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    1. Notice of Appeal filed on December 16, 2021 [Dkt. No. 127]

    2. Memorandum Opinion and Order Denying Arbitration Request and Related Relief [Dkt.
       No. 115], entered on December 3, 2021.

    3. Docket entries kept by the bankruptcy clerk in Adversary No. 21-03006-sgj

    4. Docket entries kept by the bankruptcy clerk in the main bankruptcy case, Case No. 19-
       34054.

    5. Each of the additional documents and items designated below:

 Designation         Filing Date    Dkt.                        Description
     No.
                  Documents filed in Main Bankruptcy Case- Case No. 19-34054
        1           12/27/19        281    281 (100 pgs; 4 docs) Motion to compromise
                                           controversy with Official Committee of Unsecured
                                           Creditors. Filed by Debtor Highland Capital
                                           Management, L.P. (Attachments: # 1 Exhibit A #
                                           2 Exhibit B # 3 Proposed Order) (Hayward,
                                           Melissa)
        2             1/9/20        339    (5 pgs) Order Approve Settlement with Official
                                           Committee of Unsecured Creditors Regarding
                                           Governance of the Debtor and Procedures for
                                           Operations in the Ordinary Course (related
                                           document # 281) Entered on 1/9/2020. (Okafor, M.)
        3            6/23/20        774    (33 pgs) Application to employ James P. Seery, Jr.
                                           as Other Professional Debtors Motion Under
                                           Bankruptcy Code Sections 105(a) and 363(b) for
                                           Authorization to Retain James P. Seery, Jr., as
                                           Chief Executive Officer, Chief Restructuring
                                           Officer and Foreign Representative Nunc Pro Tunc
                                           to March 15, 2020 Filed by Debtor Highland
                                           Capital Management, L.P. (Annable, Zachery)
        4            7/16/20        854    (12 pgs) Order granting application to employ
                                           James P. Seery, Jr. as Chief Executive Officer,
                                           Chief Restructuring Officer and Foreign
                                           representative (related document 774) Entered on
                                           7/16/2020. (Ecker, C.) Modified on 7/16/2020
                                           (Ecker, C.).
        5           11/24/20       1472    Debtor’s Fifth Amended Plan of Reorganization
        6           11/24/20       1473    Disclosure Statement for Fifth Amended Plan of
                                           Reorganization
        7           11/24/20       1476    Order Approving Disclosure Statement
        8            1/11/21       1719    Debtor’s Second Notice of Executory Contracts to
                                           be Assumed by the Debtor


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        9              1/20/21       1784    Dondero Objection to Assumption and Cure of
                                             Executory Contract
       10              1/21/21       1791    Debtor’s Withdrawal of Assumption of Executory
                                             Contracts
       11              1/22/21       1808    Debtor’s Fifth Amended Plan of Reorganization
                                             (as modified)
       12              1/22/21       1809    Redline of Fifth Amended Plan of Reorganization
                                             (as modified)
       13              2/22/21       1943    Order Confirming Fifth Amended Plan of
                                             Reorganization
 Designation         Filing Date     Dkt.                       Description
     No.
                   Documents filed in Adversary Proceeding - Case No. 21-03006
        1          09/01/2021        70     Motion to Compel Arbitration and Stay Litigation
        2          09/01/2021        71     Appendix in Support of Defendants' Motion to
                                            Compel Arbitration and Stay Litigation
        3          09/01/2021        74     Motion to Compel Arbitration and Stay Litigation
        4          09/15/2021        78     Notice of Hearing
        5          09/28/2021        81     Debtor's Objection to Motion to Compel Arbitration
                                            and Stay Litigation
        6          09/28/2021        82     Debtor's Brief in Support of Its Objection to Motion
                                            to Compel Arbitration and Stay Litigation
        7          09/28/2021        83     Declaration of John A. Morris in Support of Debtor's
                                            Objection to Motion to Compel Arbitration and Stay
                                            Litigation
        8          09/28/2021       83-1    Exhibit A to Declaration of John A. Morris in
                                            Support of Debtor's Objection to Motion to Compel
                                            Arbitration and Stay Litigation
        9          09/28/2021       83-2    Exhibit B to Declaration of John A. Morris in
                                            Support of Debtor's Objection to Motion to Compel
                                            Arbitration and Stay Litigation
       10          09/28/2021       83-3    Exhibit C to Declaration of John A. Morris in
                                            Support of Debtor's Objection to Motion to Compel
                                            Arbitration and Stay Litigation
       11          11/05/2021        93     Reply to Debtor's Objection to Motion to Compel
                                            Arbitration and Stay Litigation
       12          11/05/2021        95     Defendants' Joint Witness and Exhibit List
       13          11/05/2021       95-1    Exhibit 1 to Defendants' Joint Witness and Exhibit
                                            List
       14          11/05/2021       95-2    Exhibit 2 to Defendants' Joint Witness and Exhibit
                                            List
       15          11/05/2021       95-3    Exhibit 3 to Defendants' Joint Witness and Exhibit
                                            List
       16          11/05/2021       95-4    Exhibit 4 to Defendants' Joint Witness and Exhibit
                                            List


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       17          11/05/2021           95-5   Exhibit 5 to Defendants' Joint Witness and Exhibit
                                               List
       18          11/05/2021           95-6   Exhibit 6 to Defendants' Joint Witness and Exhibit
                                               List
       19          11/05/2021           95-7   Exhibit 7 to Defendants' Joint Witness and Exhibit
                                               List
       20          11/05/2021           95-8   Exhibit 8 to Defendants' Joint Witness and Exhibit
                                               List
       21          11/05/2021           95-9   Exhibit 9 to Defendants' Joint Witness and Exhibit
                                               List
       22          11/05/2021          95-10   Exhibit 10 to Defendants' Joint Witness and Exhibit
                                               List
       23          11/05/2021          95-11   Exhibit 11 to Defendants' Joint Witness and Exhibit
                                               List
       24          11/05/2021          95-12   Exhibit 12 to Defendants' Joint Witness and Exhibit
                                               List
       25          11/05/2021          95-13   Exhibit 13 to Defendants' Joint Witness and Exhibit
                                               List
       26          11/05/2021          95-14   Exhibit 14 to Defendants' Joint Witness and Exhibit
                                               List
       27          11/09/2021            97    Notice of Court Admitted Exhibits for Hearing Held
                                               November 9, 2021 Note: Defendants’ admitted
                                               exhibits can be found at docket numbers 95-1
                                               through 95-14.
       28          11/15/2021           115    Audio File of Hearing Held November 9, 2021 Note:
                                               Audio file can be found in Adversary No. 21-03003

    6. Each of the hearing transcripts designated below:

 Designation Filing Date                Dkt.                       Description
     No.
     29      11/16/2021                 102    Transcript of Hearing Held November 9, 2021


                  STATEMENT OF ISSUES TO BE PRESENTED ON APPEAL

         1.       Whether the Bankruptcy Court erred in finding that the arbitration clause was an

executory contract rejected pursuant to Bankruptcy Code Section 365.

         2.       Whether       the   Bankruptcy   Court   erred   in   finding   that   a   company

governance/formation document is an executory contract.




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         3.       Whether the Bankruptcy Court erred in finding that a debtor’s purported rejection

of a contract containing an arbitration clause relieves Debtor of the duty to arbitrate.

         4.       Whether the Bankruptcy Court erred in finding that the arbitration clause should be

considered a separate executory agreement that was rejected.

         5.       Whether the Bankruptcy Court erred in finding that requiring arbitration in this case

would impose undue and unwarranted burdens and expenses on the parties to the detriment of

Highland's creditors.

         6.       Whether the Bankruptcy Court erred in finding that the Appellants have waived

any right to invoke the arbitration clause.

         7.       Whether the Bankruptcy Court erred in finding that the Appellants waived any right

to invoke the arbitration clause by not raising the subject of arbitration until after the counts giving

rise to the demand for arbitration, Counts V, VI, and VII, were added by the Debtor.

         8.       Whether the Bankruptcy Court erred in finding that seeking arbitration in the first

pleading after the filing of claims raising the right to seek arbitration is a “delay” in seeking

arbitration sufficient to justify a finding of waiver.

         9.       Whether the Bankruptcy Court erred in finding that the Appellants Dugaboy and

Nancy Dondero waived rights to invoke the arbitration clause by not raising the subject of

arbitration before they were added as parties to the Adversary Proceeding by the Debtor.

         10.      Whether the Bankruptcy Court erred in determining that it would not compel

arbitration.




Dated: December 30, 2021




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                                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that, on December 30, 2021, a true and correct copy of
the foregoing document was served via the Court’s CM/ECF system on all parties registered to
receive notice in this case.
                                              /s/ Michael P. Aigen
                                              Michael P. Aigen




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